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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,
                                                    Case No. 22-20271
v.
                                                    HON. DENISE PAGE HOOD
KAMOL HARPER,

               Defendant.
_____________________________/

                   ORDER ACCEPTING AND ADOPTING
                    REPORT AND RECOMMENDATION

      On December 13, 2022, Magistrate Judge Elizabeth A. Stafford conducted a

plea hearing with Defendant Kamol Harper’s consent. On December 15, 2022, the

Magistrate Judge issued a Report and Recommendation, recommending that this Court

accept Defendant’s plea of guilty. To date, no party has filed an Objection to the

Report and Recommendation, and the time to file such has passed. They have

therefore waived their right to appeal the Magistrate Judge’s findings that Defendant

was competent to enter a plea and that the plea was entered knowingly, intelligently,

voluntarily, without coercion, and with a basis in fact. See FED. R. CRIM . P. 11(b);

Thomas v. Arn, 474 U.S. 140, 149 (1985).

      Accordingly,
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      IT IS ORDERED that Magistrate Judge Elizabeth A. Stafford’s Report and

Recommendation (ECF No. 25) is ACCEPTED and ADOPTED as this Court’s

findings.

      IT IS FURTHER ORDERED that Defendant’s plea of guilty and the Rule 11

Plea Agreement are ACCEPTED.



                                          s/Denise Page Hood
                                          DENISE PAGE HOOD
                                          United States District Judge

DATED: March 3, 2023




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